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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
TAl\/IPA DIVISION

TROPICAL AQUATICS l\/IARKETING,
INC., a Florida coiporation, individually and
on behalf of all others similarly situated,
Case No.
Plaintiff,
v. JURY TRlAL DEMANDED
REAL PAGE, INC., a Delaware corporation,
and RP NEWCC ll, LLC D/B/A/
COl\/[PLIANCE DEPOT, a Delaware limited
liability company,

Defendants.
CLASS ACTION COMPLAINT

Plaintiff Tropical Aquatics l\/Iarketing, lnc. ("Plaintiff`) brings this class action

Complaint against Defendants Real Page. Inc. ("Real Page") and RP Newco ll d/b/a Compliance

Depot ("RP Newco ll") (collectively. “Defendants") on behalf of itself and all others similarly

situated, and complains and alleges upon personal knowledge as to itself and its own acts and

experiences, and, as to all other matters, upon information and beliet`, including investigation
conducted by its attorneys

I. NATURE OF THE ACTION

l. Defendants offer vendor and property management products and services. Real

Page is a member-manager of RP Newco II. In an effort to market their products and services,

Defendants sent unsolicited junk faxes in bulk_"fax blasts"'_to unwilling recipients with

deficient out-opt notices Fax advertising shifts the cost of the marketing promotion from the

marketer_the sender of the fax-to the unwilling recipient, and is expressly prohibited by the

Telephone Consumer Protection Act, 47 U.S.C. §227, er .s'eq. ("TCPA").

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7. Neither Plaintiff nor the other Class members ever consented, authorized, desired
or permitted Defendants to send them faxes.

3. In order to redress these injuries, Plaintiff seeks an injunction requiring
Det`endants to cease all unsolicited faxing and deficient opt-out notice activities, and an award of
statutory damages to the Class members under the TCPA, together with Costs and attorneys` fees.

II. JURISDICTION AND VENUE

4. This C ourt has original jurisdiction over the claims in this action pursuant to 28
U.S.C. § l331, because they arise under the laws of the United States. Further, this Court has
diversityjurisdiction under 28 U.S.C. § 1332(d), because (a) at least one member of the putative
class is a citizen of a state different from a defendant, ('b) the amount in controversy exceeds
$5,000,000, exclusive of interest and costs, and (c) none of the exceptions under that subsection
apply to this action.

5. This C ourt has personal jurisdiction over Defendants under the Florida long-arm
statute, Fla. Stat. § 48.193, because Defendants carry on substantial business in the State of
Florida and a substantial portion of the wrongdoing alleged in this Complaint took place in
and/or was directed toward this State. Defendants, by sending junk faxes in bulk into this State
soliciting business, have sufficient contacts in this State to render the exercise of jurisdiction by
this court permissible

6. Venue is proper in this District pursuant to 28 U.S.C. § 139l(b), because a

substantial part of the events giving rise to the claim occurred in this District.

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III. PARTIES
Plaintr_')_‘)'"

7. Plaintiff is a corporation organized in and existing under the laws of the State of
Florida with its principal place of business in Palm Harbor, Florida. For purposes of § 1332,
Plaintiffis a citizen of the State of Florida.

De{femlants

8. Defendant Real Page is a corporation organized in and existing under the laws of
the State of Delaware with its principal place of business in Can‘ollton, Texas. Real Page is the
sole member-manager of Defendant RP Newco ll. For purposes of § 1332, Real Page is citizen
of the State of Delaware and the State of Texas.

9. Defendant RP Newco ll is a limited liability company organized in and existing
under the laws of the State ot` Delaware with its principal place of business in Carrollton, Texas.
RP Newco ll registered the assumed name "Conrpliance Depot." For purposes of § 1332, RP
Newco ll is a citizen of the State of Delaware and the State of Texas.

IV. FACTUAL BACKGROUND

lO. On or about October 18, 201 l, Plairrtiff received the unsolicited fax advertisement
attached as Exhibit A.

l l. The fax does not provide an opt-out notice1 as required under § 227(b)(2)(D).

The phone number listed on the fax for questions is: 888-493-6938.

13. The fax encourages Plaintiff to register with "Compliance Depot" by visiting
www.compliancedepot.com.

l4. However, upon visiting www.compliancedepot.com, the recipient of the fax is

redirected to www.realpage.com.

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l5. On www.realpage.com, the listed phone number is also: 888-493-6938.

16. On information and belief, Real Page is the owner of both websites_
www.compliancedepot.com and www.realpage.com.

17. According to the Texas Secretary of State, Real Page is the sole nrember-manager

of several limited liability companies that begin with the name "RP Newco_" including RP

Newco ll.
18. RP Newco ll registered the assumed name "Compliance Depot."
l9. Accordingly, on information and belief, Real Page uses the assumed name_

"Compliance Depot"_of one of its limited liability companies-RP Newco ll_to solicit and/or
conduct business for itself via fax advertisements

ZO. Defendants sent the fax and/or are responsible, as a matter of law, for the actions
of the individuals who sent the fax.
Zl. Defendants products and services were advertised in the fax, and Defendants
derived an economic benefit from the transmission of the fax.

22. Plairrtiff had no prior relationship with Defendants and did not consent to the
receipt of the above-referenced (or any) fax advertisement(s) from Defendants

23. On information and belief, the fax attached as Exhibit A was transmitted as part
ofmass broadcastings, or "blasts." ot`faxes.

24. There is no reasonable means by which Plaintiff and Class members can avoid

receiving unsolicited and unlawful faxes.

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V. CLASS ALLEGATIONS

25 . Plaintiff brings Count l, as set forth below, on behalf of itselfand as a class action
pursuant to the provisions of Rules 23(a), (b)(2), and (b)(3) of the Federal Rules of Civil
Procedure on behalfof a class defined as:

Unsolicited Fax Class (“Class One”)

All individuals or entities in the United States who received one or more

unsolicited facsimile advertisements from or on behalf of Defendants
Excluded from Class One are Defendants and their subsidiaries and affiliates; all persons who
make a timely election to be excluded from Class One; governmental entities; and the judge to
whom this case is assigned and any immediate farnin members thereof.

26. Plaintiff brings Count ll, as set forth below7 on behalf of itself and as a class
action pursuant to the provisions of Rules 23(a), (b)(2), and (b)(3) of the Federal Rules of Civil
Pr‘ocedure on behalfofa class defined asi

Opt-out Notice Class (“Class Two”)

All individuals or entities in the United States who received one or more facsimile

advertisements with opt-out notices from or on behalf of Defendants that do not

comply with 47 U.S.C. § 227(b)(2)(D).
Excluded from Class Two are Defendants and their subsidiaries and affiliates; all persons who
make a timely election to be excluded from Class Two; governmental entities; and the judge to
wlrorrr this case is assigned and any immediate family members thereof

27. "Class members" and “Class" refer to both Class One and Class Two. unless
otherwise stated.

28. Certitication of Plaintif'f`s claims for class-wide treatment is appropriate because

Plaintiff can prove the elements of its claims on a class-wide basis using the same evidence as

would be rrsed to prove those elements in individual actions alleging the same claims.

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29. Nunlerosity - F ederal Rule of Civil Procedure 23(a)(1). The members of the
Class are so numerous that individual joinder of all Class members is impracticable Orr
information and belief, there are thousands of consumers and recipients who have been damaged
by Defendants` wrongful conduct as alleged herein. The precise number ofClass members and
their addresses is presently unknown to Plaintiff, but may be ascertained from Defendants’ books
and records. Class members may be notified of the pendency of this action by recognized1
Court-approved notice dissemination methods, which may include U.S. nrail, electronic mail,
lnternet postings, and/or published notice.

30. Conrrrronality and Predonrinance - Federal'Rule of Civil Procedure 23(a)(2)
and 23(b)(3). This action involves common questions of law and fact, which predominate over
any questions affecting individual Class members, including, without limitation:

a. Whether Defendants engaged in a pattern of sending unsolicited fax advertisements
as alleged herein;

b. The manner in which Defendants compiled or obtained its list of fax numbers;
c. Whether Defendants violated the TCPA;

d. erether Plaintiff and the Class are entitled to actual, statutory, or other forms of
damages, and other monetary relief and, in what amount(s);

e. erether Plaintiff and the Class are entitled to treble damages based on the
willfulness of Defendants` conduct; and

f. Whether Plaintiff` and the Class are entitled to equitable relief, including but not
limited to injunctive relief and restitution.

31. Typicality - Federal Rrrle of Civil Procedure 23(a)(3). Plaintiffs claims are
typical of the other Class members` claims because among other things. all Class members were

comparably injured through the uniform prohibited conduct described above.

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32. Adequacy of Representation - Federal Rule of Civil Procedur'e 23(a)(4).
Plaintiff is an adequate representative of the Class because its interests do not confiict with the
interests of the other Class members it seeks to represent; it has retained counsel competent and
experienced in complex commercial and class action litigation; and Plaintiffintends to prosecute
this action vigorously. The interests of the Class members will be fairly and adequately
protected by the Plaintiff and its counsel.

33. Declaratory and Injunctive Relief - F ederal Rule of Civil Procedure 23(b)(2).
Defendants have acted or refused to act on grounds generally applicable to Plairrtiff and the other
Class members, thereby making appropriate final injunctive relief and declaratory relief, as
described below, with respect to Class as a whole.

34. Superiority - Federal Rule of Civil Procedure 23(b)(3). A class action is
superior to any other available means for the fair and efficient adjudication of this controversy,
and no unusual difficulties are likely to be encountered in the management of this class action.
The damages or other financial detriment suffered by Plairrtiff and the other Class members are
relatively small compared to the burden and expense that would be required to individually
litigate their claims against Defendants, so it would be impracticable for Class members to
individually seek redress for Defendants` wrongful conduct. Even if Class members could afford
individual litigation, the court system could not. lndividualized litigation creates a potential for
inconsistent or contradictory judgments, and increases the delay and expense to all parties and
the court system. By contrast, the class action device presents far fewer management difficulties,
and provides the benefits of single adjudication, economy of scale, and comprehensive

supervision by a single court.

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VI. CLAIMS ALLEGED
COUNT I
Urrsolicited Fax in Violation of the TCPA, 47 U.S.C. § 227
(On behalf of Class One)

35. Plaintiff incorporates by reference the foregoing allegations if fully set forth
herein.

36. Defendants and/or their agents used a telephone facsimile machine, computer or
other device to send unsolicited advertisements to a telephone facsimile machine, in violation of
the TCPA, 47 U.S.C. §227(b)(l)(`C).

37. On information and belief, these unsolicited advertisements were transmitted en
mcrs.s'e without the prior express consent of Plairrtiff and Class One.

38. As a result of Defendants` unlawful conduct, Plaintiff and Class Gne suffered actual
damages and, under Section 227(b)(3), are entitled to recover for actual monetary loss fi'om such
violations, or to receive at least $5()0 in damages for each such violation, whichever is greater, or

both such actions.

_C_Q_ll_l`l_T__!.l_
lnsuffrcient Opt-out Notice irl Violatiorr of the TCPA, 47 U.S.C. § 227(b)(2)(D)
(On behalf of Class Two)
39. Plaintiff incorporates by reference the foregoing allegations if fully set forth
herein.
40. Defendants` fax fails to satisfy all of the opt-out notice requirements under §

227(b)(2)(D). Namely, the notice does not:

a. Appear clearly and conspicuously on the first page of the fax as required by § 227

(b)(Z)(D)(i);

b, State that the sender`s failure to comply with an opt-out request within the shortest
time reasonable is unlawful, as required by § 227(b)(2)(D)(ii);

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4l.

Set forth the elements of a valid opt-out request, as required by § 227(b)(2)(D)(iii);

lnclude a fax number to use for an opt-out request, pursuant to §
337(b)(2)(D)(i\/)(l);

Permit Plairrtiff and the other Class members to submit a request at any time, under
§ 227(b)(2)(D)(v); and

Comply with the technical requirements of § 227(d), as required by §
227(b)(2)(D)(vi).

As a result of Defendants` unlawful conduct, Plaintiff and Class Two suffered

actual damages and, under Section 227(b)(3), are entitled to recover for actual monetary loss from

such violations, or to receive at least $500 in damages for each such violation, whichever is

greater, or both such actions.

VII. JURY DEMAND

Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial byjury of all

claims in this Complaint so triable.

VIII. REQUEST FOR RELIEF

WHEREFORE, Plairrtiff`Tr'oj)ical Aquatics l\/larketing, lnc., individually and on behalf of

the Class, requests that the Court enter an Order as follows:

A.

Certifying the Class as defined above, appointing Plairrtiff Tropical Aquatics
l\/larketing, lnc. as the representative of the Class, and appointing its counsel as
Class Counsel;

Awarding actual and statutory damages;

Enjoining Defendants fi`om sending unsolicited facsimile advertisements with
deficient opt-out notices;

Awarding of reasonable attorneys` fees and costs; and

Awarding such other and further relief that the C ourt deems reasonable and just.

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Dated: December 9, 2013

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Respectfully submitted,

TROPICAL AQUATICS MARKET[NG,
lNC., individually and on behalf of all
others similarly situated

 

 

    

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the Putative Classes

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